      Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 1 of 53 PageID #:90




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ROBERT JONES,                                )
                                             )
                        Plaintiff,           )        Case No. 1:24-cv-03168
                                             )
v.                                           )        Complaint for Violation of Civil Rights
                                             )
LATOYA HUGHES,                               )
JAMES MONTGOMERY, and                        )
ANTHONY WILLIS,                              )
                                             )
                        Defendants.          )

     PLAINTIFF’S §2-1401 PETITION TO VACATE ORDERS OF FEBRUARY 14, 2025
      GRANTING SUMMARY JUDGMENT AND DISMISSING PLAINTIFF’S FIRST
                         AMENDED COMPLAINT AT LAW

        NOW COMES the Plaintiff, ROBERT JONES, by his attorneys, the Law Offices of

Stephanie L. White, P.C., pursuant to 735 ILCS 5/2-1401, and moves this Court to vacate its

orders of February 14, 2025 granting summary judgment and dismissing this matter with

prejudice as follows:

        1.     This matter was filed on April 19, 2024 with counsel of record for the Plaintiff

being Daniel K. Fritz with the Law Offices of Stephanie L. White, P.C. (Exhibit A – Civil Cover

Sheet Document 1).

        2.     The Law Offices of Stephanie L. White, P.C., is a small practice consisting of two

attorneys, Stephanie L. White, and Daniel K. Fritz.

        3.     Daniel K. Fritz has been the managing and handling attorney for the Plaintiff, as

evidenced by his name appearing as the only counsel for the Plaintiff on the Civil Action

Coversheet (Exhibit A – Document 1) his signatures on the Complaint (Exhibit B – Document 2),

the First Amended Complaint (Exhibit C – Document 17), Plaintiff’s Motion to Substitute

Defendants (Exhibit D – Document 18), and Plaintiff’s Motion to Dismiss the State Defendants
                                                 1
    Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 2 of 53 PageID #:91




(Exhibit E – Document 19). Although unsigned, Daniel K. Fritz wrote the Initial Status Report

Exhibit F – Document 5). Attorney Daniel K. Fritz also attended all of the court calls for this

matter prior to the last one when it was dismissed.

       4.      However, the Pacer system reflects that attorney Stephanie L. White is the

Plaintiff’s counsel, and only her email address is listed.

       5.      The dismissal of this matter arises from the Plaintiff’s counsel’s failure to respond

to the Defendants’ Motion to Dismiss, which was inadvertent and caused, in part, by attorney

Fritz not receiving emails from the clerk and, in part, by a particularly busy trial schedule for the

Law Offices of Stephanie L. White, P.C., during the relevant timeframe.

       6.      The Defendants filed their Motion to Dismiss on November 20, 2024, and the

case was dismissed on February 14, 2025. During the months leading up to and surrounding

those dates, both of the attorneys at the Law Offices of Stephanie L. White were engaged in or

preparing for five separate trials, three of which proceeded to jury verdicts as follows:

               A.      On October 15, 2024, counsel for the Plaintiff began a jury trial in the case

                       of Dontas v. Eurolux, et. al., Cook County Court No. 2020 L 001332

                       (Exhibit G), and that case was tried to a jury verdict on October 25, 2024

                       (Exhibit H);

               B.      Less than one week later, on November 1, 2024, counsel for the Plaintiff

                       began a jury trial in the case of Does v. Orland Park School District 135,

                       v. Pickens, Cook County Court No. 2020 L 013740 (Exhibit I), and that

                       case was tried to a jury verdict on November 26, 2024 (Exhibit J);

               C.      Counsel for the Plaintiffs were scheduled to begin a jury trial in the case of

                       Hampton v. Adams, Cook County Court No. 2023 L 001170, on January



                                                  2
     Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 3 of 53 PageID #:92




                       21, 2024 (Exhibit K), and that matter settled shortly before the trial date

                       and was dismissed on January 17, 2025 (Exhibit L);

               D.      On February 6, 2025, counsel for the Plaintiff began a jury trial in the

                       matter of Doe v. The Pacific Langham Corporation, Cook Court No. 2022

                       L 008301 (Exhibit M), and that case was tried to a jury verdict on

                       February 26, 2025 (Exhibit N);

               E.      On March 4, 2025, counsel for the Plaintiff began a jury trial in the matter

                       of Blair v. Homewood Flossmoor Community School District 233, Cook

                       County Court No. 2022 L 010964 (Exhibit O), and that matter settled and

                       was dismissed on March 14, 2025 (Exhibit P).

          7.   With the exception of Hampton v. Adams, all of the foregoing were complex cases

involving expert witnesses, all but one of which resided out of state.

          8.   The preparations, scheduling, and daily court attendances associated with the

above trials, coupled with the fact that attorney Fritz did not receive emails from the Clerk

regarding this matter, resulted in his inadvertent failure to docket the briefing schedule and

hearing order in this matter regarding the Defendants’ Motion to Dismiss, which was entered on

November 21, 2024 (three weeks into the Does v. Orland Park School District 135, v. Pickens

trial).

          9.   In the Court’s order of February 14, 2025, counsel for the Defendants apparently

indicated that he reached out to counsel for the Plaintiffs but received no response. However,

attorney Fritz spoke with attorney Robbins about his motion, and attorney White responded to an

email regarding the briefing schedule on November 21, 2024, while counsel for the Plaintiff was




                                                 3
    Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 4 of 53 PageID #:93




on trial, and indicated that Plaintiffs’ counsel was on trial and had not been able to review the

Defendants’ motion (Exhibit Q).

       10.     Attorney Fritz discovered his error shortly after the last of the above trials ended

and moves promptly to vacate the dismissal, after advising the Plaintiff of the error, allowing the

Plaintiff to consider retaining other counsel, and obtaining the Plaintiff’s written permission to

proceed with this motion .

       11.     Illinois law recognizes that a petitioner is entitled to relief from a final judgment

when (1) there is a meritorious claim or defense, (2) he was diligent in presenting his claim in the

original action, and (3) he was diligent in presenting his Section 2-1401 petition. See Cavit v.

Repel, 2015 IL App (1st) 133382, 32 N.E. 3d 712, 293 Ill. Dec. 404, citing in re Marriage of

Streur, 2011 IL App (1st) 082326, 353 Ill. Dec. 30, 955 N.E.2d 497.

       12.     Illinois law also recognizes that equitable considerations favor the determination

of this matter on its facts and the law. See Warren County Soil and Water Conservation Dist. v.

Walters, 2015 IL 117783(2015).

       13.     The Plaintiff believes he has a meritorious response to the Defendants’ Motion to

Dismiss.

       14.     Defendants’ Motion to Dismiss raises four arguments: First, that Plaintiff’s claim

for unlawful custody while on parole is barred under Illinois law, which does not address

Plaintiff’s claim regarding his unlawful custody before he was released on parole; second, that

venue is improper in the Northern District of Illinois; third, that the claims against the IDOC

officials acting in their official capacities are barred by the Eleventh Amendment to the United

States Constitution; and fourth, Plaintiff’s First Amended Complaint is factually insufficient to

state a cause of action.



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     Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 5 of 53 PageID #:94




        15.    All but the argument regarding relief for time on parole were previously asserted

in the Defendants’ Motion to Dismiss Plaintiff’s original Complaint (Exhibit Q), which was

withdrawn pending the filing of Plaintiff’s First Amended Complaint. See Docket Entry of

September 5, 2024 (Exhibit R).

        16.    With regard to the Defendants’ first argument, the Seventh Circuit has recognized

that the unavailability of federal habeas relief does not preclude a prisoner from bringing a §1983

action to challenge a condition of his confinement where, as in the present matter, the action is

not based on the validity of the underlying sentence but to the conditions of confinement after the

terms of the Plaintiff’s sentences had been served. . See Savory v. Cannon, 947 F.3d 409 (2020).

        17.    In paragraph 5 of their Motion to Dismiss, the Defendants cite to Huber v.

Anderson, 909 F.3d 201 (7th Cir. 2018) for the proposition that “Only after the custody is over

may the prisoner use §1983 to seek damages against the persons who may have been responsible.

As stated in paragraph 15 of the First Amended Complaint, Plaintiff’s custody ended on March

15, 2025, so his claim for damages is ripe.

        18.    Here, the Plaintiff does not contest the validity of his sentences, but claims he was

held beyond the lawful periods of his sentences, both in custody and on parole, and deprived of

his rights.

        19.    With regard to the Defendants’ second argument, the underlying criminal conduct

and sentences that the Plaintiff was serving originated in Cook County, Illinois, which is in the

Northern District. 28 USC §1391(b)(2) provides that venue is proper in a civil action in a judicial

district in which a substantial part of the events or omissions giving rise to the claim occurred.




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    Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 6 of 53 PageID #:95




        20.     Any determination of whether the Plaintiff served time in excess of his sentence

must arise from an analysis of the sentences that were rendered in Cook County, making venue

proper in this Court.

        21.     With regard to the Defendants’ third argument, the Plaintiff’s First Amended

Complaint removed all claims against the state of Illinois and against the three remaining

Defendants acting in their official capacities, which were part of the original Complaint. Suits

against state officials in their personal capacities raise no Eleventh Amendment issues. See Kroll

v. Board of Trustees, 934 F.2d 904 (7th Cir. 1991). Here, the state of Illinois clearly has no state

interest in incarcerating its citizens beyond their sentencing periods, and the Defendants’ actions

at issue are not alleged to be nor can they be state actions.

        22.     With regard to the Defendants’ Fourth and final argument, Federal Rule of Civil

Procedure 8(a)(2) requires only “a short and plain statement of the claim showing that the

pleader is entitled to relief,” in order to “give the defendant fair notice of what the ... claim is and

the grounds upon which it rests.” See Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99, 2 L.Ed.2d

80 (1957). The Defendants’ Motion to Dismiss demonstrates that they are acutely aware of the

claims against t

        23.     the Plaintiff’s First Amended Complaint details the specifics of his conviction and

plea agreement, the sentences resulting therefrom, an analysis of time served, and the applicable

law regarding credit for time served and sets forth the exact time when Plaintiff asserts his

sentencing periods ended. From that, Defendants certainly have fair notice of the claims against

them and the grounds upon which they rest.




                                                   6
        Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 7 of 53 PageID #:96




          24.   But for the docketing error in November 2024, the Plaintiff has been diligent in

prosecuting this matter, as evidenced by the pleading practice, amendment to the Complaint, and

court attendances.

          25.   Plaintiff has been diligent in moving for the dismissal to be vacated after learning

of same.

          26.   The statements set forth in this Petition are true and correct. See attached affidavit

of Daniel K. Fritz.

          WHEREFORE, Plaintiff, ROBERT JONES, respectfully prays this Court enter and order

vacating the dismissal entered on February 15, 2025, allowing Plaintiff leave to file a Response

to the Defendants’ Motion to Dismiss, and for such further and other relief as the Court deems

just.

                                               Respectfully submitted,




                                               By:
                                                       Daniel K. Fritz

Atty. No. 6198758
Daniel K. Fritz
Law Offices of Stephanie L. White, P.C.
161 N. Clark Street, Suite 2550
Chicago, IL 60601
Tel. No. 312-380-7900
swhite@slw-law.com
dfritz@slw-law.com




                                                  7
    Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 8 of 53 PageID #:97




                             AFFIDAVIT OF DANIEL K. FRITZ

       I, Daniel K. Fritz, upon oath do hereby swear and affirm to the following, and if called as

a witness, could competently testify thereto:

       1.      I am an attorney licensed to practice in the state of Illinois and the Northern
               District of Illinois.

       2.      I have, from its inception, been the attorney handling the matter of Jones v.
               Hughes, Case No. 1:24-cv-03168.

       3.      I am one of two attorneys working at the Law Offices of Stephanie L. White, P.C.

       4.      From October 15, 2024, through March 14, 2025, I was preparing for and
               engaged in the five jury trials outlined in paragraph six of Plaintiff’s §2-1401
               Petition.

       5.      I personally attended every day of the trials in Dontas v. Eurolux, et. al., Cook
               County Court No. 2020 L 001332, Does v. Orland Park School District 135, v.
               Pickens, Cook County Court No. 2020 L 013740, Doe v. The Pacific Langham
               Corporation, Cook Court No. 2022 L 008301, and Blair v. Homewood Flossmoor
               Community School District 233, Cook County Court No. 2022 L 010964.

       6.      I did not receive email notifications from the Court regarding the briefing
               schedule set on the Defendants’ Motion for Summary Judgment Jones v. Hughes,
               Case No. 1:24-cv-03168.

       7.      My failure to file a responsive pleading or attend the hearing on the Defendants’
               Motion for Summary Judgment was inadvertent and arose, in part, from my
               attention being focused on the above trials and my not receiving the emails from
               the Court.

       8.      I wrote Plaintiff’s §2-1401 Petition to Vacate Orders of February 14, 2025
               Granting Summary Judgment and Dismissing Plaintiff’s First Amended
               Complaint At Law, and the statements contained therein are true and correct.




                                                 8
    Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 9 of 53 PageID #:98




                           VERIFICATION BY CERTIFICATION
        Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters
the undersigned certifies as aforesaid that he verily believes the same to be true.




                                              (signature)

                                              April 17, 2025
                                              (date)




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ILND 44 (Rev. 09/20)
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The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                 DEFENDANTS
        Robert Jones                                                                                               State of Illinois, Illinois Dept. of Corrections, Robert Jeffreys, Illinois Prisoner
                                                                                                                   Review Board, James Montgomery, Anthony Willis.

   (b) County of Residence of First Listed Plaintiff                                                              County of Residence of First Listed Defendant Cook
                                     (Except in U.S. plaintiff cases)                                               (In U.S. plaintiff cases only)
                                                                                                                     Note: In land condemnation cases, use the location of the tract of land involved.

   (c) Attorneys (firm name, address, and telephone number)                                                         Attorneys (If Known)

         Daniel K. Fritz, Law Offices of Stephanie L. White, P.C.
         161 N. Clark Street, Suite 2550, Chicago, IL 60602


II. BASIS OF JURISDICTION (Check one box, only.)                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                           (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                   ■   3   Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                 (U.S. Government not a party.)                                                           ■           ■
                                                                                                                                                              Incorporated or Principal Place of
                                                                                                             Citizen of This State            1           1                                          4       4
                                                                                                                                                              Business in This State

  2 U.S. Government                       4   Diversity                                                     Citizen of Another State       2           2    Incorporated and Principal Place          5      5
      Defendant                                 (Indicate citizenship of parties in Item III.)                                                              of Business in Another State

                                                                                                            Citizen or Subject of a
                                                                                                                                           3           3    Foreign Nation                            6      6
                                                                                                            Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
          CONTRACT                                                  TORTS                                        PRISONER PETITIONS                       LABOR                         OTHER STATUTES
                                                                                                                510 Motions to Vacate               710 Fair Labor Standards
  110 Insurance                               PERSONAL INJURY                    PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                        Act
                                                                                                                530 General                                                           376 Qui Tam (31 USC
  120 Marine                              310 Airplane                     530 General                                                              720 Labor/Management
                                                                                                                                                                                           3729 (a))
                                          315 Airplane Product Liability
                                                                           367 Health Care/                     535 Death Penalty                          Relations
                                          320 Assault, Libel & Slander                                                                                                                400 State Reapportionment
                                                                               Pharmaceutical
  130 Miller Act                          330 Federal Employers'               Personal Injury
                                               Liability                       Product Liability
                                                                                                                Habeas Corpus:                      740 Railway Labor Act             410 Antitrust
  140 Negotiable Instrument               340 Marine                       368 Asbestos Personal               540 Mandamus & Other                 751 Family and Medical            430 Banks and Banking
  150 Recovery of Overpayment             345 Marine Product Liability         Injury Product                  550 Civil Rights                          Leave Act                    450 Commerce
       & Enforcement of Judgment          350 Motor Vehicle                    Liability                       555 Prison Condition                 790 Other Labor Litigation        460 Deportation
  151 Medicare Act                        355 Motor Vehicle Product                                            560 Civil Detainee -                 791 Employee Retirement           470 Racketeer Influenced
  152 Recovery of Defaulted                   Liability                  PERSONAL PROPERTY                          Conditions                                                             and Corrupt
                                                                                                                                                           Income Security Act
       Student Loan                       360 Other Personal Injury                                                 of Confinement                                                        Organizations
      (Excludes Veterans)                 362 Personal Injury - Medical    370 Other Fraud                                                                                            480 Consumer Credit
  153 Recovery of Veteran’s                   Malpractice                                                                                           PROPERTY RIGHTS
                                                                           371 Truth in Lending                                                                                       485 Telephone Consumer
      Benefits                                                                                                                                      820 Copyright
  160 Stockholders’ Suits                                                        380 Other Personal                                                 830 Patent                             Protection Act (TCPA)
  190 Other Contract                                                                 Property Damage                                                835 Patent - Abbreviated          490 Cable/Sat TV
  195 Contract Product Liability                                                 385 Property Damage                                                    New Drug Application          850 Securities/Commodities/
  196 Franchise                                                                      Product Liability                                              840 Trademark                         Exchange
                                                                                                                                                    880 Defend Trade Secrets          890 Other Statutory Actions
                                                                                                                                                        Act of 2016 (DTSA)            891 Agricultural Arts
      REAL PROPERTY                            CIVIL RIGHTS                       BANKRUPTCY                    FORFEITURE/PENALTY                  SOCIAL SECURITY                   893 Environmental Matters
   210 Land Condemnation             ■    440 Other Civil Rights                 422 Appeal 28 USC 158          625 Drug Related Seizure            861 HIA (1395ff)                  895 Freedom of Information
                                                                                 423 Withdrawal                     of Property                     862 Black Lung (923)                  Act
   220 Foreclosure                        441 Voting                                                                21 USC 881
   230 Rent Lease & Ejectment             442 Employment                               28 USC 157               690 Other                           863 DIWC/DIWW                     896 Arbitration
                                                                                                                                                           (405(g))                   899 Administrative
   240 Torts to Land                      443 Housing/Accommodations                                                                                                                      Procedure
   245 Tort Product Liability             445 Amer. w/ Disabilities-              IMMIGRATION                                                       864 SSID Title XVI                    Act/Review or Appeal of
   290 All Other Real Property                Employment                         462 Naturalization                                                 865 RSI (405(g))                      Agency Decision
                                          446 Amer. w/Disabilities -                  Application                                                                                     950 Constitutionality of
                                              Other                              463 Habeas Corpus –                                                 FEDERAL TAXES                        State Statutes
                                           448 Education                             Alien Detainee                                                 870 Taxes (U.S. Plaintiff
                                                                                     (Prisoner Petition)                                                  or Defendant
                                                                                 465 Other Immigration                                              871 IRS—Third Party
                                                                                      Actions                                                           26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                2 Removed from                   3   Remanded from                   4 Reinstated                           5 Transferred                  6 Multidistrict          8 Multidistrict
    Proceeding                State Court                        Appellate Court                   or Reopened                            from Another                   Litigation -             Litigation -
                                                                                                                                          District                       Transfer                 Direct File
                                                                                                                                         (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                              VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                           423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                         a judge of this Court. Use a separate attachment if necessary.)
 1983 Civil Rights Violation for false imprisonment
VIII. REQUESTED IN                 Check if this is a class action under Rule 23,                               Demand $                              CHECK Yes only if demanded in complaint:
      COMPLAINT:                   F.R.CV.P.                                                                                                          Jury Demand: ■ Yes              No
IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                                                           Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No                            If yes, Case #                   Name of Judge

                                                                                                                                                                             Exhibit A
                                                                                                 ■




Date: ___________________________________________                                       Signature of Attorney of Record ______________________________________________
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                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority for Civil Cover Sheet

The ILND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
   Case:
     Case:
         1:24-cv-03168
            1:24-cv-03168
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                                                       Page
                                                         Page
                                                            121of
                                                                of53
                                                                   7 PageID
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT JONES,                               )
                                            )
                        Plaintiff,          )         Case No.
                                            )
v.                                          )         Complaint for Violation of Civil Rights
                                            )
STATE OF ILLINOIS, ILLINOIS                 )
DEPARTMENT OF CORRECTIONS,                  )
ROBERT JEFFREYS, individually, and          )         JURY DEMANDED
in his official capacity as Acting Director )
of the Illinois Department of Corrections, )
ILLINOIS PRISONER REVIEW BOARD, )
JAMES MONTGOMERY, individually,             )
and in his official capacity as Chairman    )
of the Illinois Prisoner Review Board, and )
ANTHONY WILLIS, Individually, and in )
His official capacity as Warden of the      )
Menard Correctional Center,                 )
                                            )
                        Defendants.         )

                                 JURISDICTION AND VENUE

       1.      This is a civil action seeking damages against Defendants to redress deprivations

under color of law of the rights, privileges, and immunities secured by the Fourth, Fifth, Eighth,

and Fourteenth amendments to the United States Constitution and the Civil Rights Act of 1971

(42 U.S.C. Section 1983). This Court has jurisdiction under and by virtue of 28 U.S.C. Sections

1343 and 1331.

       2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                             PARTIES

       3.      At all times herein mentioned, Plaintiff, ROBERT JONES, was and is a citizen of

the United States of America, residing in the state of Illinois, and was within the jurisdiction of
                                                  1
                                                                               Exhibit B
   Case:
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                                                       Page
                                                         Page
                                                            132of
                                                                of53
                                                                   7 PageID
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this Court. Although currently on parole, Plaintiff, Robert Jones, is, involuntarily, an inmate of

Defendant, ILLINOIS DEPARTMENT OF CORRECTIONS, at its Menard Correctional Center,

assigned Inmate Number B73106.

        4.      Defendant, STATE OF ILLINOIS (hereafter “the STATE”) is a state in the

United States of America, which maintains an adult prison system and has the ultimate authority

to set the policies in those prisons.

        5.      Defendant, ILLINOIS DEPARTMENT OF CORRECTIONS (hereafter “IDOC”)

is a division of the government of the STATE, created by the state legislature pursuant to 20

ILCS 5/5-15, and charged with the operation of the state’s adult prison system, including the

Menard Correctional Center located in the Town of Chester, Randolph County, State of Illinois.

        6.      Defendant. ROBERT JEFFREYS (hereafter “JEFFREYS”) is the Acting Director

of IDOC, and who has policymaking authority within IDOC.

        7.      Defendant, ILLINOIS PRISONER REVIEW BOARD (hereafter “the BOARD”)

is a quasi-judicial body that, among other things, decides the release dates for prisoners within

IDOC, including Plaintiff.

        8.      Defendant, JAMES MONTGOMERY (Hereafter “MONTGOMERY”), is the

Chairman of the BOARD, who has policy making authority to decide the release date for

prisoners within the IDOC.

        9.      Defendant, ANTHONY WILLIS (hereafter “WILLIS”), is the Warden of the

Menard Correctional Center, who has policymaking authority to decide the release date for

prisoners assigned to and being held at the Menard Correctional Center.

                                   FACTUAL ALLEGATIONS

        10.     On December 4, 2009, Plaintiff was sentenced on Counts I and II in Cook

County, Illinois court number 04 CR 1533001 to a term of thirty years of incarceration at the
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                                                            143of
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Illinois Department of Corrections, for each Count, to run concurrently, plus three years of

Mandatory Supervised Release, and given credit for time served of 2,092 days, and all other

Counts against him were dismissed.

       11.     At all relevant times, there was in effect in the state of Illinois a certain, 730 ILCS

5/3-6-3 “Rules and Regulations for Sentence Credit,” which provides:

       (2.1) For all offenses, other than those enumerated in subdivision (a)(2)(i), (ii),
       or (iii) committed on or after June 19, 1998 or subdivision (a)(2)(iv) committed
       on or after June 23, 2005 (the effective date of Public Act 94-71) or subdivision
       (a)(2)(v) committed on or after August 13, 2007 (the effective date of Public Act
       95-134) or subdivision (a)(2)(vi) committed on or after June 1, 2008 (the effective
       date of Public Act 95-625) or subdivision (a)(2)(vii) committed on or after July
       23, 2010 (the effective date of Public Act 96-1224), and other than the offense of
       aggravated driving under the influence of alcohol, other drug or drugs, or
       intoxicating compound or compounds, or any combination thereof as defined in
       subparagraph (F) of paragraph (1) of subsection (d) of Section 11-501 of the
       Illinois Vehicle Code, and other than the offense of aggravated driving under the
       influence of alcohol, other drug or drugs, or intoxicating compound or
       compounds, or any combination thereof as defined in subparagraph (C) of
       paragraph (1) of subsection (d) of Section 11-501 of the Illinois Vehicle Code
       committed on or after January 1, 2011 (the effective date of Public Act 96-1230),
       the rules and regulations shall provide that a prisoner who is serving a term of
       imprisonment shall receive one day of sentence credit for each day of his or her
       sentence of imprisonment or recommitment under Section 3-3-9. Each day of
       sentence credit shall reduce by one day the prisoner's period of imprisonment or
       recommitment under Section 3-3-9.

       12.     The provisions of 730 ILCS 5/3-6-3 have always been and are applicable to

Plaintiff’s sentence under Cook County, Illinois court number 04CR1533001.

       13.     Accordingly, Plaintiff’s period of incarceration under Cook County, Illinois court

number 04CR1533001 should have ended no later than March 14, 2019, and his three-year

period of Mandatory Supervised Release should have ended no later than March 14, 2022.

       14.     On August 17, 2011, Plaintiff entered into a plea agreement on Counts II, III, and

IV in Cook County, Illinois court number 04 CR 1542901 by which he was sentenced to a term

of twenty-five years of incarceration at the Illinois Department of Corrections, for each of


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Counts II and III, to be served at fifty percent, and a term of fifteen years on Count IV, to be

served at eighty-give percent, all three sentences to run concurrently with each other and

Plaintiff’s sentence in 04 CR 1533001, plus three years of Mandatory Supervised Release, given

credit for time served of 2,640 days, and all other Counts against him were dismissed.

       15.     Accordingly, Plaintiff’s period of incarceration under Cook County, Illinois court

number 04CR1542901 should have ended no later than February 23, 2017.

       16.     In addition to the statutory sentence reductions pursuant to 730 ILCS, 5/3-6-3,

Plaintiff was and is entitled to an additional reduction of his sentences due to his good behavior,

including but not limited to reductions of his sentence pursuant to 730 ILCS 130/3, while serving

time at the Cook County Jail.

       17.     During all times relevant to this matter, Plaintiff has not been convicted of any

other offenses, and Plaintiff is not and has not been subject to incarceration for any other

offenses than those contained in 04 CR 1533001 and 04 CR 1542901.

       18.     Defendants have set Plaintiff’s Projected Discharge Date for March 15, 2025.

       19.     At all times relevant, the Fourth, Fifth, Eighth and Fourteenth Amendments to the

United States Constitution and 42 U.S.C. Section 1983 created a duty in Defendants to guarantee

Plaintiff’s freedom and liberty after he served the above sentences.

       20.     At all times relevant, Defendants knew or reasonably should have known that

Plaintiff has fully served his periods of incarceration for the above matters and is no longer

subject to any incarceration or other restrictions on his liberty.

       21.     At all times relevant, Defendants, acting under the color of law, willfully,

knowingly, intentionally, and/or recklessly continued to keep Plaintiff in their custody when they

knew or reasonably should have known that Plaintiff had fully served his sentences for the above

matters and was no longer subject to any restrictions on his liberty.
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                                                            165of
                                                                of53
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                                   COUNT I – 42 U.S.C. §1983
                                    FALSE IMPRISONMENT
                                  AGAINST ALL DEFENDANTS

       22.      Plaintiff reincorporates and realleges paragraphs 1 through 21, as though fully set

forth herein.

       23.      Defendants, acting under the color of law and within their authorities to determine

Plaintiff’s release date from incarceration, willfully, knowingly, intentionally, and/or recklessly

caused Plaintiff’s incarceration and detention to be extended beyond his sentencing periods

without probable cause of any other justification, thus violating Plaintiff’s rights under the

Fourth, Fifth, Eighth, and Fourteenth Amendments to the United States Constitution.

       24.      As a direct and proximate consequence of said misconduct by the Defendants, the

Plaintiff suffered violations of his constitutional rights, loss of liberty, loss of freedom, emotional

distress, monetary loss, and expense.

       WHEREFORE, Plaintiff, ROBERT JONES, prays for judgment against Defendants,

STATE OF ILLINOIS, ILLINOIS DEPARTMENT OF CORRECTIONS, ROBERT

JEFFREYS, individually, and in his official capacity as Acting Director of the Illinois

Department of Corrections, ILLINOIS PRISONER REVIEW BOARD, JAMES

MONTGOMERY, individually, and in his official capacity as Chairman of the Illinois Prisoner

Review Board, and ANTHONY WILLIS, Individually, and in his official capacity as Warden of

the Menard Correctional Center, and demands compensatory damages, punitive damages,

attorney’s fees, the costs of this action, plus any additional relief as the Court deems equitable

and just.




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                               COUNT II – 42 U.S.C. §1983
                DEPRIVATION OF LIBARTY WITHOUT DUE PROCESS OF LAW
                             AGAINST ALL DEFENDANTS

       25.       Plaintiff reincorporates and realleges paragraphs 1 through 24, as though fully set

forth herein.

       26.       As a result of the forementioned misconduct, Defendants deprived Plaintiff of his

liberty without due process of law.

       27.       As a direct and proximate consequence of said misconduct by the Defendants, the

Plaintiff suffered violations of his constitutional rights under the Fourth, Fifth, Eighth, and

Fourteenth amendments, loss of liberty, loss of freedom, emotional distress, monetary loss, and

expense.

       WHEREFORE, Plaintiff, ROBERT JONES, prays for judgment against Defendants,

STATE OF ILLINOIS, ILLINOIS DEPARTMENT OF CORRECTIONS, ROBERT

JEFFREYS, individually, and in his official capacity as Acting Director of the Illinois

Department       of   Corrections,    ILLINOIS     PRISONER       REVIEW       BOARD,         JAMES

MONTGOMERY, individually, and in his official capacity as Chairman of the Illinois Prisoner

Review Board, and ANTHONY WILLIS, Individually, and in his official capacity as Warden of

the Menard Correctional Center, and demands compensatory damages, punitive damages,

attorney’s fees, the costs of this action, plus any additional relief as the Court deems equitable

and just.

                                          CONCLUSION

       WHEREFORE, the Plaintiff, by and through his attorneys, the LAW OFFICES OF

STEPHANIE L. WHITE, P.C., requests judgment as follows against Defendants, STATE OF

ILLINOIS, ILLINOIS DEPARTMENT OF CORRECTIONS, ROBERT JEFFREYS,

individually, and in his official capacity as Acting Director of the Illinois Department of

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Corrections, ILLINOIS PRISONER REVIEW BOARD, JAMES MONTGOMERY,

individually, and in his official capacity as Chairman of the Illinois Prisoner Review Board, and

ANTHONY WILLIS, Individually, and in his official capacity as Warden of the Menard

Correctional Center, and each of them for the following items of damages:


    1.      That the Defendants be required to pay Plaintiff’s general damages,
            including emotional distress, in a sum to be ascertained;

    2.      That the Defendants be required to pay Plaintiff’s special damages;

    3.      That the Defendants other than Cook County be required to pay punitive and
            exemplary damages in a sum to be ascertained;

    4.      That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred;

    5.      That the Defendants be required to pay Plaintiff’s reasonable attorneys’ fees for
            bringing this action; and;

    6.      That Plaintiff has such other and further relief as this Court may deem just and
            proper.

                                              Respectfully submitted,




                                              By:
                                                     Daniel K. Fritz

Atty. No. 6198758
Law Offices of Stephanie L. White, P.C.
161 N. Clark Street, Suite 2550
Chicago, IL 60601
Tel. No. 312-380-7900
swhite@slw-law.com
dfritz@slw-law.com


                  PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY




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      Case:1:24-cv-03168
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ROBERT JONES,                                 )
                                              )
                       Plaintiff,             )       Case No. 1:24-cv-03168
                                              )
v.                                            )       Complaint for Violation of Civil Rights
                                              )
LATOYA HUGHES,                                )
JAMES MONTGOMERY, and                         )
ANTHONY WILLIS,                               )
                                              )
                       Defendants.            )

                         FIRST AMENDED COMPLAINT AT LAW

        NOW COMES the Plaintiff, ROBERT JONES, by his attorneys, the LAW OFFICES OF

STEPHANIE L. WHITE, P.C., and for his First Amended Complaint at Law against Defendants,

LATOYA HUGHES, JAMES MONTGOMERY, and ANTHONY WILLIS, states as follows:

                                    JURISDICTION AND VENUE

        1.     This is a civil action seeking damages against Defendants to redress deprivations

under color of law of the rights, privileges, and immunities secured by the Fourth, Fifth, Eighth,

and Fourteenth amendments to the United States Constitution and the Civil Rights Act of 1971

(42 U.S.C. Section 1983). This Court has jurisdiction under and by virtue of 28 U.S.C. Sections

1343 and 1331.

        2.     Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district from the criminal prosecutions of the Plaintiff by the People

of the State of Illinois in Cook County, Illinois and sentencing orders entered by judges sitting in

the Circuit Court of Cook County, Illinois.




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                                                          202of
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                                              PARTIES

        3.      At all times herein mentioned, Plaintiff, ROBERT JONES, was and is a citizen of

the United States of America, residing in the state of Illinois, and was within the jurisdiction of

this Court. Although currently on parole, Plaintiff, Robert Jones, is, involuntarily, an inmate of

the State of Illinois’ Department Of Corrections (“IDOC”), at its Menard Correctional Center,

assigned Inmate Number B73106.

        4.      Defendant. LATOYA HUGHES (hereafter “HUGHES”) is the Acting Director of

IDOC, and who has policymaking authority within IDOC, including authority over IDOC

facilities within the Northern District of Illinois.

        5.      Defendant, JAMES MONTGOMERY (Hereafter “MONTGOMERY”), is the

Chairman of the Illinois Prisoner Review Board (“the BOARD”), who has policy making

authority to decide the release date for prisoners within the IDOC. MONTGOMERY’s authority

involves the entire state of Illinois, including the BOARDS’s operations within the Northern

District of Illinois.

        6.      Defendant, ANTHONY WILLIS (hereafter “WILLIS”), is the Warden of the

Menard Correctional Center, who has policymaking authority to decide the release date for

prisoners assigned to and being held at the Menard Correctional Center.

                                    FACTUAL ALLEGATIONS

        7.      On December 4, 2009, Plaintiff was sentenced on Counts I and II in Cook

County, Illinois court number 04 CR 1533001 to a term of thirty years of incarceration at the

Illinois Department of Corrections, for each Count, to run concurrently, plus three years of

Mandatory Supervised Release, and given credit for time served of 2,092 days, and all other

Counts against him were dismissed.

        8.      At all relevant times, there was in effect in the state of Illinois a certain, 730 ILCS


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5/3-6-3 “Rules and Regulations for Sentence Credit,” which provides:

       (2.1) For all offenses, other than those enumerated in subdivision (a)(2)(i), (ii),
       or (iii) committed on or after June 19, 1998 or subdivision (a)(2)(iv) committed
       on or after June 23, 2005 (the effective date of Public Act 94-71) or subdivision
       (a)(2)(v) committed on or after August 13, 2007 (the effective date of Public Act
       95-134) or subdivision (a)(2)(vi) committed on or after June 1, 2008 (the effective
       date of Public Act 95-625) or subdivision (a)(2)(vii) committed on or after July
       23, 2010 (the effective date of Public Act 96-1224), and other than the offense of
       aggravated driving under the influence of alcohol, other drug or drugs, or
       intoxicating compound or compounds, or any combination thereof as defined in
       subparagraph (F) of paragraph (1) of subsection (d) of Section 11-501 of the
       Illinois Vehicle Code, and other than the offense of aggravated driving under the
       influence of alcohol, other drug or drugs, or intoxicating compound or
       compounds, or any combination thereof as defined in subparagraph (C) of
       paragraph (1) of subsection (d) of Section 11-501 of the Illinois Vehicle Code
       committed on or after January 1, 2011 (the effective date of Public Act 96-1230),
       the rules and regulations shall provide that a prisoner who is serving a term of
       imprisonment shall receive one day of sentence credit for each day of his or her
       sentence of imprisonment or recommitment under Section 3-3-9. Each day of
       sentence credit shall reduce by one day the prisoner's period of imprisonment or
       recommitment under Section 3-3-9.

       9.      The provisions of 730 ILCS 5/3-6-3 have always been and are applicable to

Plaintiff’s sentence under Cook County, Illinois court number 04CR1533001.

       10.     Accordingly, Plaintiff’s period of incarceration under Cook County, Illinois court

number 04CR1533001 should have ended no later than March 14, 2019, and his three-year

period of Mandatory Supervised Release should have ended no later than March 14, 2022.

       11.     On August 17, 2011, Plaintiff entered into a plea agreement on Counts II, III, and

IV in Cook County, Illinois court number 04 CR 1542901 by which he was sentenced to a term

of twenty-five years of incarceration at the Illinois Department of Corrections, for each of

Counts II and III, to be served at fifty percent, and a term of fifteen years on Count IV, to be

served at eighty-give percent, all three sentences to run concurrently with each other and

Plaintiff’s sentence in 04 CR 1533001, plus three years of Mandatory Supervised Release, given

credit for time served of 2,640 days, and all other Counts against him were dismissed.



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       12.     Accordingly, Plaintiff’s period of incarceration under Cook County, Illinois court

number 04CR1542901 should have ended no later than February 23, 2017.

       13.     In addition to the statutory sentence reductions pursuant to 730 ILCS, 5/3-6-3,

Plaintiff was and is entitled to an additional reduction of his sentences due to his good behavior,

including but not limited to reductions of his sentence pursuant to 730 ILCS 130/3, while serving

time at the Cook County Jail.

       14.     During all times relevant to this matter, Plaintiff has not been convicted of any

other offenses, and Plaintiff is not and has not been subject to incarceration for any other

offenses than those contained in 04 CR 1533001 and 04 CR 1542901.

       15.     Defendants have set Plaintiff’s Projected Discharge Date for March 15, 2025.

       16.     At all times relevant, the Fourth, Fifth, Eighth and Fourteenth Amendments to the

United States Constitution and 42 U.S.C. Section 1983 created a duty in Defendants to guarantee

Plaintiff’s freedom and liberty after he served the above sentences.

       17.     At all times relevant, Defendants knew or reasonably should have known that

Plaintiff has fully served his periods of incarceration for the above matters and is no longer

subject to any incarceration or other restrictions on his liberty.

       18.     At all times relevant, Defendants, acting under the color of law, willfully,

knowingly, intentionally, and/or recklessly continued to keep Plaintiff in their custody when they

knew or reasonably should have known that Plaintiff had fully served his sentences for the above

matters and was no longer subject to any restrictions on his liberty.

       19.     Defendant, HUGHES, is a public official carrying out her official responsibilities

as the Acting Director of IDOC in accordance with the laws of the State of Illinois and acting

under color of state law.

       20.     Defendant, MONTGOMERY, is a public official carrying out his official


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responsibilities as the Chairman of the BOARD in accordance with the laws of the State of

Illinois and acting under color of state law.

       21.      Defendant, WILLIS, is a public official carrying out his official responsibilities as

the Warden of the Menard Correctional Center, in accordance with the laws of the State of

Illinois and acting under color of state law

                                   COUNT I – 42 U.S.C. §1983
                                    FALSE IMPRISONMENT
                                  AGAINST ALL DEFENDANTS

       22.      Plaintiff reincorporates and realleges paragraphs 1 through 21, as though fully set

forth herein.

       23.      Defendant, HUGHES, acting under the color of law and within her authority to

determine Plaintiff’s release date from incarceration, willfully, knowingly, intentionally, and/or

recklessly acted to cause Plaintiff’s incarceration and detention within the IDOC system to be

extended beyond his sentencing periods without probable cause of any other justification.

       24.      As a direct and proximate result of Defendant, HUGHES’ conduct, as stated

above, Plaintiff remains a prisoner of IDOC.

       25.      Defendant, MONTGOMERY, acting under the color of law and within his

authority to review the operations of prisons and prisoner’s time served within the state of

Illinois, including the determination Plaintiff’s release date from incarceration, willfully,

knowingly, intentionally, and/or recklessly acted to cause Plaintiff’s incarceration and detention

within the IDOC system to be extended beyond his sentencing periods without probable cause of

any other justification.

       26.      As a direct and proximate result of Defendant, MONTGOMERY’s conduct, as

stated above, Plaintiff remains a prisoner of IDOC.

       27.      Defendant, WILLIS, acting under the color of law and within his authority to


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                                                     Page
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                                                          246of
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review the operations at the Menard Correctional Center, including the determination Plaintiff’s

release date from incarceration from that facility, willfully, knowingly, intentionally, and/or

recklessly acted to cause Plaintiff’s incarceration and detention within the IDOC system to be

extended beyond his sentencing periods without probable cause of any other justification.

        28.      As a direct and proximate result of Defendant, WILLIS’ conduct, as stated above,

Plaintiff remains a prisoner of IDOC.

        29.      Plaintiff is aware of his ongoing incarceration, and the deprivation of his rights

under the Fourth, Fifth, Eighth, and Fourteenth Amendments to the United States Constitution.

        30.      As a direct and proximate consequence of said misconduct by the Defendants, and

each of them, the Plaintiff suffered violations of his constitutional rights, loss of liberty, loss of

freedom, emotional distress, monetary loss, and expense.

        WHEREFORE, Plaintiff, ROBERT JONES, prays for judgment against Defendants,

LATOYA HUGHES, JAMES MONTGOMERY, and ANTHONY WILLIS, and demands

compensatory damages, punitive damages, attorney’s fees, the costs of this action, plus any

additional relief as the Court deems equitable and just.

                               COUNT II – 42 U.S.C. §1983
                DEPRIVATION OF LIBARTY WITHOUT DUE PROCESS OF LAW
                             AGAINST ALL DEFENDANTS

        31.      Plaintiff reincorporates and realleges paragraphs 1 through 31, as though fully set

forth herein.

        32.      As a result of the forementioned misconduct, Defendants deprived Plaintiff of his

liberty without due process of law.

        33.      As a direct and proximate consequence of said misconduct by the Defendants, the

Plaintiff suffered violations of his constitutional rights under the Fourth, Fifth, Eighth, and

Fourteenth amendments, loss of liberty, loss of freedom, emotional distress, monetary loss, and


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                                                          257of
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expense.

         WHEREFORE, Plaintiff, ROBERT JONES, prays for judgment against Defendants,

LATOYA HUGHES, JAMES MONTGOMERY, and ANTHONY WILLIS, and demands

compensatory damages, punitive damages, attorney’s fees, the costs of this action, plus any

additional relief as the Court deems equitable and just.

                                          CONCLUSION

         WHEREFORE, the Plaintiff, by and through his attorneys, the LAW OFFICES OF

STEPHANIE L. WHITE, P.C., requests judgment as follows against Defendants, LATOYA

HUGHES, JAMES MONTGOMERY, and ANTHONY WILLIS, and each of them for the

following items of damages:


    1.       That the Defendants be required to pay Plaintiff’s general damages,
             including emotional distress, in a sum to be ascertained;

    2.       That the Defendants be required to pay Plaintiff’s special damages;

    3.       That the Defendants other than Cook County be required to pay punitive and
             exemplary damages in a sum to be ascertained;

    4.       That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred;

    5.       That the Defendants be required to pay Plaintiff’s reasonable attorneys’ fees for
             bringing this action; and;

    6.       That Plaintiff has such other and further relief as this Court may deem just and
             proper.


                                               Respectfully submitted,




                                               By:
                                                      Daniel K. Fritz




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                                                              of53
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dfritz@slw-law.com


                 PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT JONES,                                 )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Case No. 1:24-cv-03168
                                              )
LATOYA HUGHES,                                )
JAMES MONTGOMERY, and                         )
ANTHONY WILLIS,                               )
                                              )
                       Defendants.            )

              PLAINTIFF’S MOTION SUBSTITUTE PARTY DEFENDANTS

        NOW COMES the Plaintiff, ROBERT JONES, by his attorneys, the LAW OFFICES OF

STEPHANIE L. WHITE, P.C., and for his Motion for leave to substitute Latoya Hughes as a

party Defendant for Robert Jefferies states as follows:

        1.     At the time Plaintiff drafted his original Complaint at Law herein, Defendant,

ROBERT JEFFREYS was the Director of the Illinois Department of Corrections.

        2.     In Section IV, paragraph 20, of Defendants’ Motion to Dismiss Plaintiff’s

original Complaint at Law, Defendants assert:

               As noted above, although Rob Jeffreys was the director of the IDOC, he is now
               the director of the Nebraska Department of Corrections. Latoya Hughes is the
               acting director of the IDOC. Accordingly, pursuant to Rule 25(d), in the event
               this Court does not dismiss the official capacity claim against Rob Jeffreys, this
               Court should substitute Rob Jeffreys in his official capacity for Latoya Hughes
               in her official capacity (sic – should be the reverse) and create a separate entry
               fin the docket for Rob Jeffreys in his individual capacity.

        3.     Plaintiff agrees.

        WHEREFORE, Plaintiff respectfully prays this Court enter an order dismissing

Defendant, ROBERT JEFFREYS, and substituting LATOYA HUGHES as a party Defendant in

his place, and for such further relief as the Court deems just.

                                                  1
                                                                            Exhibit D
   Case:
    Case:1:24-cv-03168
           1:24-cv-03168
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                                                                          #:117




                                          Respectfully submitted,




                                          By:

                                                 Daniel K. Fritz



Atty. No. 6198758
Law Offices of Stephanie L. White, P.C.
161 N. Clark Street, Suite 2550
Chicago, IL 60601
Tel. No. 312-380-7900
swhite@slw-law.com
dfritz@slw-law.com




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     Case:
      Case:1:24-cv-03168
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ROBERT JONES,                                )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. 1:24-cv-03168
                                             )
LATOYA HUGHES,                               )
JAMES MONTGOMERY, and                        )
ANTHONY WILLIS,                              )
                                             )
                      Defendants.            )

     PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS CERTAIN DEFENDANTS

        NOW COMES the Plaintiff, ROBERT JONES, by his attorneys, the LAW OFFICES OF

STEPHANIE L. WHITE, P.C., pursuant to 735 ILCS 5/2-1009, and for his Motion to

Voluntarily Dismiss Defendants, STATE OF ILLINOIS, ILLINOIS DEPARTMENT OF

CORRECTIONS, and ILLINOIS PRISON REVIEW BOARD, states as follows:

        1.     In response to Plaintiff’s original Complaint at Law, Defendants, STATE OF

ILLINOIS, ILLINOIS DEPARTMENT OF CORRECTIONS, and ILLINOIS PRISON

REVIEW BOARD, sought dismissal of the claims against them under the Eleventh

Amendment of the U.S. Constitution and because they are not “persons” subject to suit under

42 USC §1983.

        2.     Without waiver of Plaintiff’s rights to pursue his remedies against those

defendants in other venues, Plaintiff seeks to voluntarily dismiss them from this matter,

pursuant to 735 ILCS 5/2-1009.

        WHEREFORE, Plaintiff respectfully prays this Court enter an order dismissing

Defendants, STATE OF ILLINOIS, ILLINOIS DEPARTMENT OF CORRECTIONS, and

                                                 1
                                                                            Exhibit E
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ILLINOIS PRISON REVIEW BOARDS, without prejudice and for such further relief as the

Court deems just.

                                          Respectfully submitted,




                                          By:
                                                 Daniel K. Fritz


Atty. No. 6198758
Law Offices of Stephanie L. White, P.C.
161 N. Clark Street, Suite 2550
Chicago, IL 60601
Tel. No. 312-380-7900
swhite@slw-law.com
dfritz@slw-law.com




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                                                07/10/24Page
                                                         Page31
                                                              1 of 5
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT JONES,                               )
                                            )
                        Plaintiff,          )       Case No.1:24-cv-03168
                                            )
v.                                          )       Complaint for Violation of Civil Rights
                                            )
STATE OF ILLINOIS, ILLINOIS                 )
DEPARTMENT OF CORRECTIONS,                  )
ROBERT JEFFREYS, individually, and          )       JURY DEMANDED
in his official capacity as Acting Director )
of the Illinois Department of Corrections, )
ILLINOIS PRISONER REVIEW BOARD, )
JAMES MONTGOMERY, individually,             )
and in his official capacity as Chairman    )
of the Illinois Prisoner Review Board, and )
ANTHONY WILLIS, Individually, and in )
His official capacity as Warden of the      )
Menard Correctional Center,                 )
                                            )
                        Defendants.         )


                        INITIAL STATUS REPORT FOR NEW CASE
         This case has been assigned to the calendar of Judge LaShonda A. Hunt. The parties are
 directed to meet pursuant to Federal Rule of Civil Procedure 26(f) and conduct a planning
 conference, and file a joint Initial Status Report for New Case, containing the following
 information:

        I.       The Nature of the Case:

                 A.      Identify (names and contact information) for all attorneys of record for
                         each party, including the lead trial attorney.

                         Plaintiff’s Counsel:
                         Law Offices of Stephanie L. White, P.C.
                         161 N. LaSalle Street
                         Suite 2550
                         Chicago, IL 60601
                         312-380-7900
                         Attorneys Stephanie L. White (Lead) swhite@slw-law.com
                                     Daniel K. Fritz dfritz@slw-law.com




                                                                          Exhibit F
Case:
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      1:24-cv-03168
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                                            07/10/24Page
                                                     Page32
                                                          2 of 5
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                                                                         #:121




                  Defendants’ Counsels

                  The Defendants have not yet been served.

                  Summonses were placed with the clerk on July10, 2024.

           B.     Briefly describe the nature of the claims asserted in the complaint and any
                  counterclaims and/or third-party claims.

                  The Plaintiff’s Complaint is brough pursuant to 42 U.S.C. §1983 and
                  seeks monetary compensation for damages arising from False
                  Imprisonment and Deprivation of Liberty.

           C.     Briefly identify the major legal and factual issues in the case.

                  The Plaintiff is a prisoner of the State of Illinois and currently on
                  Mandatory Supervised Release (MSR), which is not scheduled to end
                  until March 15, 2025.

                  The Plaintiff was sentenced under two separate cases, 04 CR 1533001
                  and 04 CR 1542901, and assigned to the Menard Correctional Center
                  where he served his incarceration.

                  In the 04 CR 1533001 case, on December 4, 2009, Plaintiff was
                  convicted and ultimately sentenced to a period of 30 years’ incarceration
                  plus three years of MSR with 2,092 days credit for time served. Plaintiff
                  claims he was entitled to Sentence Credit, pursuant to 730 ILCS 5/3-6-3,
                  and his period of incarceration should have ended no later than March
                  14, 2019 with his MSR ending no later than March 14, 2022.

                  In the 04 CR 1542901 case, on August 17, 2011, Plaintiff entered into a
                  plea agreement whereby he was sentence to 25 years at 50% on some
                  counts and 15 years at 85% on another count with three years of MSR, all
                  sentences to run concurrently with each other and the sentence in the 04
                  CR 1533001 case, with 2,640 days credit for time served. Plaintiff claims
                  this sentence should have ended no later than February 23, 2017.

           D.     State the relief sought by any of the parties.

                  The Plaintiff seeks release from his current sentence, including Mandatory
                  Supervised Release and monetary compensation for his loss of liberty.

   II.     Jurisdiction: Explain why the Court has subject matter jurisdiction over the
           plaintiff(s)’ claim(s).

           A.     Identify all federal statutes on which federal question jurisdiction is based.

                  Jurisdiction is predicated upon 28 U.S.C. §1343 and 1331.
Case:
  Case:
      1:24-cv-03168
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                                            07/10/24Page
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                                                          3 of 5
                                                               53PageID
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                  Venue is predicated upon 28 U.S.C. §1391.

                  The matter alleges deprivations under the color of law of the rights,
                  privileges, and immunities secured by the Fourth, Fifth, Eighth, and
                  Fourteenth Amendments of the United States Constitution of the Civil
                  Rights Act of 1971, under 42 U.S.C. §1983.

           B.     If jurisdiction over any claims is based on diversity or supplemental
                  jurisdiction:

                  1.        State whether/why the amount in controversy exceeds the
                            jurisdictional threshold or whether there is a dispute regarding the
                            amount in controversy (and, if so, the basis of that dispute).

                  2.        Identify the state of citizenship of each named party. For
                            unincorporated associations, LLCs, partnerships, and other
                            business entities that are not corporations, the state(s) in which any
                            individual members of the business unit are citizens must be
                            identified.

                            NOTE 1: Individuals are citizens of the state where they are
                            domiciled; that may or may not be the state where they currently
                            reside. See Heinen v. Northrop Grumman Corp., 671 F.3d 669,
                            670 (7th Cir. 2012).

                            NOTE 2: A supplement to the statement of the basis for federal
                            jurisdiction shall be filed within 14 days of any change in the
                            information provided in the Initial Status Report.

           Not applicable

  III.     Status of Service: Identify any defendants that have not been served.

           Summonses for all Defendants were placed with the clerk’s office on July 10,
           2024, and service is anticipated over all Defendants by July 31, 2024.

           There have been no communications with the Defendants or any counsel on their
           behaves.

  IV.      Consent to Proceed Before a United States Magistrate Judge: Confirm that
           counsel have advised the parties that they may proceed before a Magistrate Judge
           if they consent unanimously and advise whether there is, or is not, unanimous
           consent.

           Plaintiff consents to proceed before a United State Magistrate Judge.

   V.      Motions:
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  Case:
      1:24-cv-03168
         1:24-cv-03168
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                                            07/10/24Page
                                                     Page34
                                                          4 of 5
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                                                                  PageID#:15
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           A.     Briefly describe any pending motions.

                  There are no pending motions.

           B.     State whether the defendant(s) anticipate responding to the complaint by
                  filing an Answer or by means of motion.

                  Plaintiff is unaware of any defenses that may be asserted.

  VI.      Case Plan:

           A.     Submit a proposal for a discovery plan, including the following
                  information1:

                  1.     The general type of discovery needed;

                         Written discovery in the form of interrogatories and requests for
                         production of documents will be required.

                         Party depositions will be required.

                  2.     A date for Rule 26(a)(1) disclosures;

                         Plaintiff proposes a date sixty days after all Defendants have filed
                         their appearances in the case.

                  3.     First date by which to issue written discovery;

                         Plaintiff proposes that written discovery be issued within thirty days
                         after all partis are at issue.

                  4.     Deadline to amend pleadings and join parties;

                         Plaintiff proposes that he should be allowed to amend his pleadings
                         and join additional parties up until discovery closes.

                  5.     A fact discovery completion date;

                         Plaintiff anticipates that discovery may take twelve months after the
                         parties are at issue.

                  6.     An expert discovery completion date, including dates for the
                         delivery of expert reports; and

                         Plaintiff does not know whether he will require a controlled
                         expert witness at this time.

                  7.     Whether either party anticipates filing dispositive motions. Please
                         note that a schedule is typically set once all discovery is complete.
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                                                         Page35
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                                 Plaintiff does not know what dispositive motions may be proper
                                 at this time.

                  B.     With respect to trial, indicate the following:

                         1.      Whether a jury trial is requested; and

                                 Plaintiff has requested a trial by jury.

                         2.      The probable length of trial.

                                 Plaintiff anticipates the trial may last seven to ten days.

      VII.        Status of Settlement Discussions:

                  A.     Indicate whether any settlement discussions have occurred;

                         None at this time.

                  B.     Describe the status of any settlement discussions; and

                         None at this time.

                 C.      Whether the parties request a settlement conference.

                         Unknown to Plaintiff at this time.




1
 For patent cases, the proposed schedule should follow the schedule set forth in the Local Patent
Rules.
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 36 of 53 PageID #:125




                                                              Exhibit G
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 37 of 53 PageID #:126




                                           Exhibit H
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 38 of 53 PageID #:127
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 39 of 53 PageID #:128
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 40 of 53 PageID #:129
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 41 of 53 PageID #:130
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 42 of 53 PageID #:131




                                                              Exhibit I
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 43 of 53 PageID #:132




                                                         Exhibit J
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 44 of 53 PageID #:133




                                                        Exhibit K
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 45 of 53 PageID #:134




                                                            Exhibit L
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 46 of 53 PageID #:135




                                                                 Exhibit M
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 47 of 53 PageID #:136




                                                                Exhibit N
Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 48 of 53 PageID #:137




                                                             Exhibit O
     Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 49 of 53 PageID #:138




                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                        COUINTY DEPARTMENT, LAW DIVISION

AMAYAH BLAIR and                                     )
JESSICA JOHNSON,                                     )
                                                     )
                      Plaintiffs,                    )
                                                     )
v.                                                   )       No. 2022 L 010964
                                                     )
BOARD OF EDUCATION OF HOMEWOOD-                      )       JURY DEMAND
FLOSSMOOR COMMUNITY HIGH SCHOOL                      )
DISTRICT 233, CLINTON ALEXANDER,                     )       Calendar E
Individually, and as Agent and/or Employee of        )
BOARD OF EDUCATION OF HOMEWOOD-                      )
FLOSSMOOR COMMUNITY HIGH SCHOOL                      )
DISTRICT 233, and DEENA CASSADY,                     )
Individually, and as Agent and/or Employee of        )
BOARD OF EDUCATION OF HOMEWOOD-                      )
FLOSSMOOR COMMUNITY HIGH SCHOOL                      )
DISTRICT 233,                                        )
                                                     )
                      Defendants.                    )

                                             ORDER

This matter coming to be heard upon the regular call of cases for Trial and it appearing to the
Court that this cause has been settled by agreement of the parties:

IT IS HEREEBY ORDERED that the above-entitled cause be and the same is hereby dismissed
with prejudice and without costs.

IT IS HEREBY ORDERED that the Court retains jurisdiction to effectuate the settlement,
including enforcement, adjudication of liens, approval where necessary and any other pendant
matters.

Voluntary mediation was not utilized in reaching this settlement


ENTER: _________________                             JUDGE: ________________________
                                                            The Honorable Nicole Patton

Atty. No. 99610
Law Offices of Stephanie L. White, P.C.
161 N. Clark Street, Suite 2550
Chicago, IL 60601
Tel. No. 312-380-7900

                                                 1                           Exhibit P
  Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 50 of 53 PageID #:139


From:           Stephanie L. White
To:             Robbin, Daniel; Dan Fritz
Subject:        Re: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State, 24cv3168
Date:           Thursday, November 21, 2024 1:54:39 PM


Daniel:
We are on trial thru this week. Can we touch base Monday? Weve been on trial since 11.1 so
neither of us have gotten a chance to review it.

Stephanie L. White


*Justice *Integrity *Compassion


From: Robbin, Daniel <Daniel.Robbin@ilag.gov>
Sent: Thursday, November 21, 2024 10:59:04 AM
To: Stephanie L. White <SWhite@slw-law.com>; Dan Fritz <DFritz@slw-law.com>
Subject: Re: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State,
24cv3168

Dear Stephanie and Dan,

Following up on this request to propose a briefing schedule to Judge Hunt on the pending
motion to dismiss.

Any thoughts?

Sincerely,
Daniel



---
Daniel N. Robbin
Assistant Unit Supervisor, Prisoner Litigation
Government Representation | General Law
Office of the Attorney General
115 S. La Salle St.
Chicago, Illinois 60603
(312) 814-7199 (office)
(312) 848-7917 (cell)

From: Robbin, Daniel <Daniel.Robbin@ilag.gov>
Sent: Wednesday, November 20, 2024 3:04 PM
To: Stephanie L. White <swhite@slw-law.com>; Dan Fritz <dfritz@slw-law.com>


                                                                                                Exhibit Q
  Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 51 of 53 PageID #:140


Subject: Re: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State,
24cv3168

PS: I would propose 28 days and 14 to reply.



---
Daniel N. Robbin
Assistant Unit Supervisor, Prisoner Litigation
Government Representation | General Law
Office of the Attorney General
115 S. La Salle St.
Chicago, Illinois 60603
(312) 814-7199 (office)
(312) 848-7917 (cell)

From: Robbin, Daniel <Daniel.Robbin@ilag.gov>
Sent: Wednesday, November 20, 2024 3:02 PM
To: Stephanie L. White <swhite@slw-law.com>; Dan Fritz <dfritz@slw-law.com>
Subject: Re: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State,
24cv3168

Stephanie, Dan:

I plan to file the attached motion to dismiss. I suspect you both will oppose? I need to state
explicitly in the motion whether there is such opposition.

What briefing schedule should we request? I have to include such a schedule in the motion.

-Daniel



---
Daniel N. Robbin
Assistant Unit Supervisor, Prisoner Litigation
Government Representation | General Law
Office of the Attorney General
115 S. La Salle St.
Chicago, Illinois 60603
(312) 814-7199 (office)
(312) 848-7917 (cell)

From: Robbin, Daniel <Daniel.Robbin@ilag.gov>
  Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 52 of 53 PageID #:141


Sent: Wednesday, September 4, 2024 5:50 PM
To: Stephanie L. White <SWhite@slw-law.com>; Dan Fritz <DFritz@slw-law.com>
Subject: Re: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State,
24cv3168

Great, I'll get it on file. I'll add your signature block from your email here to the motion with
your "e-signature."

Good luck tomorrow!

---
Daniel N. Robbin
Assistant Unit Supervisor, Prisoner Litigation
Government Representation | General Law
Office of the Attorney General
115 S. La Salle St.
Chicago, Illinois 60603
(312) 814-7199 (office)
(312) 848-7917 (cell)

From: Stephanie L. White <SWhite@slw-law.com>
Sent: Wednesday, September 4, 2024 5:47 PM
To: Robbin, Daniel <Daniel.Robbin@ilag.gov>; Dan Fritz <DFritz@slw-law.com>
Subject: [EXTERNAL] RE: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint --
Jones v. State, 24cv3168

The proposed order is fine. Thank you for preparing it.



Stephanie L. White, MSW, JD
Law Offices of Stephanie L. White, P.C.
161 North Clark St.
Suite 2550
Chicago, IL 60601
Office: 312.380.7900
Fax: 312.312.7062
swhite@slw-law.com
  Case: 1:24-cv-03168 Document #: 30 Filed: 04/17/25 Page 53 of 53 PageID #:142




From: Robbin, Daniel <Daniel.Robbin@ilag.gov>
Sent: Wednesday, September 4, 2024 5:42 PM
To: Stephanie L. White <SWhite@slw-law.com>; Dan Fritz <DFritz@slw-law.com>
Subject: Proposed M/Withdraw MTD and for Leave to file 1st Am. Complaint -- Jones v. State,
24cv3168


Dear Stephanie and Daniel,

Thank you so much for taking my call this afternoon. I'm glad we could talk. Attached is the
proposed agreed motion we discussed. I'll leave it to you on how detailed you want paragraph
4 to be, where we ask that Plaintiff be given until 10/29 to file the amended complaint.

Also attached are the documents I referenced. These documents are from Mr. Jones's master
file. When I get more documentation and when I get news that the clerk of the circuit court of
Cook County has uploaded Mr. Jones's criminal case files to the CCC portal, I will let you know.

Sincerely,
Daniel Robbin

---
Daniel N. Robbin
Assistant Unit Supervisor, Prisoner Litigation
Government Representation | General Law
Office of the Attorney General
115 S. La Salle St.
Chicago, Illinois 60603
(312) 814-7199 (office)
(312) 848-7917 (cell)
